8:14-cr-00409-BCB-MDN       Doc # 340    Filed: 06/13/17    Page 1 of 2 - Page ID # 2282




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:14CR409
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
DILANG DAT,                                 )
                                            )
             Defendant.                     )

      This matter is before the Court on three motions, all submitted by the Defendant,

Dilang Dat, pro se: (1) “Motion Requesting the Court for an Enlargement of Time for

Defendant to be able to Receive, and then Research his Requested Transcripts, in Order

that He May Be Able to Properly Draft and then File His Title 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct His Sentence,” ECF No. 334; (2) “Motion Requesting the Court to

‘Order’ the FBOP to Accept the Directions of the J&C of Dilang Dat as Proof that all

Restitution Amounts Have Been Credited to Him Through the Plea Agreement, or, that the

Court Instruct the FBOP that Dilang Dat has Indeed Made His Required Restitution

Payment Via a 'Credit' that Was Given to Him at Sentencing, when his Plea Agreement

Was Orally Changed and Agreed upon by the AUSA, the Defense and the Judge, to Show

that all Payments Were Made,” ECF No. 336; and (3) “Motion Requesting Court to ‘Order’

Attorney Kyle Allen to Forward Copy of Sentencing Transcripts & Plea Agreement &

Sentencing Memorandum & Statement of Reasons & the Indictment & Superseding

Indictment in this Case (Filing Nos. 262 and 268), also Send All Related Notes & Files to

Dilang Dat, so that He may Research and File his Title 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence [and] Motion Requesting that the Court itself Send the

Aforementioned Requested Paperwork and Files if the Attorney Does Not Have Them and

that the Court Forgo Assessing Any Cost to the Prisoner Dilang Dat Because He is Indigent

Due to His Imprisonment and is without the Court’s Assistance Unable to Acquire the
8:14-cr-00409-BCB-MDN       Doc # 340     Filed: 06/13/17   Page 2 of 2 - Page ID # 2283




Proper Paperwork in Order to Research and File a Timely 28 U.S.C. § 2255,” ECF No.

339.

       Dat is represented by retained counsel, who is actively engaged in the proceedings.

On June 8, 2017, Dat’s retained counsel requested and received a transcript of the

sentencing proceeding. See ECF Nos. 337, 338. Accordingly, Dat’s pro se motions will

be denied, without prejudice to re-submission through retained counsel, as counsel deems

necessary.

       IT IS ORDERED:

       Defendant Dilang Dat’s pro se motions appearing at ECF Nos. 334, 336, and

       339, are denied.



       DATED this 13th day of June, 2017.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge




                                            2
